                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                 DOCKET NO. 3:05CR98-MU
                                    )
            vs.                     )                 ORDER
                                    )
ANTONIO CROCKETT, et al.,           )
                                    )
                  Defendants        )
____________________________________)


            THIS MATTER IS BEFORE THE COURT on Defendant Antonio Crockett’s Motion in

Limine to exclude evidence of jailhouse recordings of phone calls made by him during his

incarceration pending trial. As the Government has declared that it currently only intends to use this

evidence for impeachment of Defendant’s witnesses, and Defendant has stated its tentative intent

not to call any witnesses, the Court finds this motion to be premature. The motion is therefore

DENIED with leave to be raised again in the event the Government seeks to introduce the recordings

at trial.

            IT IS SO ORDERED.



                                                   Signed: March 31, 2006




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